         Case 1:19-cv-00810-RBW Document 114 Filed 03/13/20 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 ELECTRONIC PRIVACY INFORMATION CENTER,

         Plaintiff,

         v.                                                          Civ. Action No. 19-810 (RBW)

 UNITED STATES DEPARTMENT OF JUSTICE,

         Defendant.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s Order dated March 6, 2020, Plaintiff Electronic Privacy

Information Center (“EPIC”) and Defendant U.S. Department of Justice (“DOJ”), by and

through undersigned counsel, respectfully submit this Joint Status Report. The Court ordered the

parties to “file a joint status report discussing how they wish to proceed in this case as to

Categories 2 through 7 of the plaintiff’s Freedom of Information Act [FOIA] request.” Dkt. 113.

       In addition to EPIC’s challenges to DOJ’s redactions on the Mueller Report, which are

currently pending before the Court in the parties’ cross-motions for partial summary judgment,

EPIC challenges only DOJ’s withholding of material from one record responsive to Categories 1

and 2 of EPIC’s FOIA request. Specifically, EPIC challenges the four redactions made to the

final two pages of DOJ’s October 10, 2019 production.

       DOJ redacted the material pursuant to FOIA Exemptions (b)(6) and (b)(7)(C). DOJ

redacted the name of an individual who was under investigation by the Special Counsel’s Office

(SCO). The SCO investigation of the person never was made public. The parties briefed similar

redactions to the Mueller Report in their cross-motions for partial summary judgment (DOJ



                                                  1
          Case 1:19-cv-00810-RBW Document 114 Filed 03/13/20 Page 2 of 3



labeled these redactions to the Mueller Report as “(b)(6)/(b)(7)(C)-2”).

       Because the Court will be considering similar assertions of Exemptions (b)(6) and

(b)(7)(C) when it conducts its in camera review of the Mueller Report, the parties jointly

stipulate to the Court’s in camera review of the final two pages of the DOJ’s October 10, 2019

production. DOJ would submit an unredacted copy of these two pages to the Court along with

the Mueller Report.

       The parties further stipulate that, if the Court agrees with the DOJ’s Exemption 6 and

7(C) determinations as to the final two pages of the DOJ’s October 10, 2019 production, EPIC

will withdraw its challenge to those exemptions. If the Court does not agree with the DOJ’s

determinations, DOJ will have the opportunity to move for summary judgment and provide a

declaration supporting those exemptions, and EPIC will have an opportunity to oppose the

motion.

       Although DOJ asserts that in camera review is generally inappropriate in a FOIA case,

see Hayden, v. Nat’l Sec. Agency, 608 F.2d 1381, 1387 (D.C. Cir. 1979)—and especially before

the government has had an opportunity to file declarations supporting the redactions—the parties

agree that, in these specific circumstances, the adoption of this procedure would facilitate the

efficient resolution of this lawsuit and conserve the Court’s resources.




                                                 2
       Case 1:19-cv-00810-RBW Document 114 Filed 03/13/20 Page 3 of 3



Dated: March 13, 2020                       Respectfully Submitted,


MARC ROTENBERG                              ETHAN P. DAVIS
EPIC President and Executive Director       Principal Deputy Assistant Attorney
                                            General
ALAN BUTLER,                                Civil Division
EPIC General Counsel
                                            ELIZABETH SHAPIRO
butler@epic.org
                                            Deputy Director
                                            Federal Programs Branch
/s/ John Davisson
JOHN DAVISSON,
EPIC Counsel                            By: /s/ Courtney D. Enlow
                                           COURTNEY D. ENLOW
ENID ZHOU                                  Trial Attorney
                                           United States Department of Justice
EPIC Open Government Counsel
                                           Civil Division, Federal Programs Branch
                                           1100 L Street, N.W.
ELECTRONIC PRIVACY
                                           Room 12102
INFORMATION CENTER
                                           Washington, D.C. 20005
1519 New Hampshire Ave NW
                                           (202) 616-8467
Washington, D.C. 20036
(202) 483-1140 (telephone)                 courtney.d.enlow@usdoj.gov
(202) 483-1248 (facsimile)
                                            Counsel for Defendant
Attorneys for Plaintiff EPIC




                                        3
